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5
     Attorney for TINA MARIE BINI,
6    Defendant
7
                            IN THE UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                  No. 2:13-CR-0332-GEB
11

12                     Plaintiff,

            v.                                 STIPULATION REGARDING EXCLUDABLE
13                                             TIME PERIODS UNDER SPEEDY TRIAL
     TINA MARIE BINI and                       ACT; (PROPOSED) FINDINGS AND ORDER
14
     MATTHEW LEE BOYLE,
15
                       Defendants.
16

17
            It is hereby stipulated and agreed by and between the parties hereto, through
18
     their respective counsel, as follows:
19
            1. By previous order, this matter was set for status on April 17, 2015.
20
            2. By this stipulation, defendants now move to continue the status conference
21
                 until May 29, 2015, and to exclude time between April 17, 2015, and May 29,
22
                 2015, under Local Code T4.
23
            3. The parties agree and stipulate and request that the Court find the following:
24
                 a. The Government has represented that discovery associated with this case
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                    consists of 25 DVD/CD’s containing Bates Nos. 0001 – 04115, and Nos.
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                    BB0001 - 00197. All of this discovery has been produced directly to
27
                    counsel.
28
                                                 1
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1          b. Counsel for defendants desire additional time to review discovery, consult

2              with their clients, continue to conduct investigation and research related to

3              the charges, discuss potential resolutions with the Government and with

4              their clients and to otherwise prepare the case. Counsel for defendants

5              believe that failure to grant the above-requested continuance would deny

6              them reasonable time necessary for effective preparation, taking into

7              account the exercise of due diligence.

8          c. The Government does not object to the continuance.

9          d. Based on the above-stated findings, the ends of justice served by

10             continuing the case as requested outweigh the interest of the public and

11             the defendant in a trial within the original date prescribed by the Speedy

12             Trial Act.

13         e. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

14             Section 3161, et seq., within which trial must commence, the time period of

15             April 17, 2015, to May 29, 2015, inclusive, is deemed excludable pursuant

16             to 18 U.S.C. Section 3161(h)(7)(A), B(iv) (Local Code T4) because it

17             results from a continuance granted by the Court at defendants’ request on

18             the basis of the Court’s finding that the ends of justice served by taking

19             such action outweigh the best interest of the public and the defendants in a

20             speedy trial.
21
        4. Nothing in this stipulation and order shall preclude a finding that other
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23         provisions of the Speedy Trial Act dictate that additional time periods are

24         excludable from the period within which a trial must commence.

25
        IT IS SO STIPULATED.
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                                           ///
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                                           ///
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                                                 2
       Case 2:13-cr-00332-DAD Document 54 Filed 04/14/15 Page 3 of 3


1    Dated: April 9, 2015                     /s/ Candace A. Fry
                                              CANDACE A. FRY, Attorney for
2                                             TINA MARIE BINI, Defendant
3

4    Dated: April 9, 2015                       /s/ Candace A. Fry for
                                              JAMES R. GREINER, Attorney for
5                                             MATTHEW LEE BOYLE, Defendant
6

7    Dated: April 9, 2015                     BENJAMIN B. WAGNER,
                                              United States Attorney
8

9                                             By /s/ Candace A. Fry for
                                              TODD A. PICKLES, Assistant
10
                                              United States Attorney
11
                                              (Signed for Mr. Greiner and Mr. Pickles
12                                            with their prior authorization)
13

14
                                      ORDER
15

16                IT IS SO FOUND AND ORDERED.
     Dated: April 14, 2015
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